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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            Case No. 23-cv-23497-BLOOM/Otazo-Reyes

 JANE DOE,

         Plaintiff,

 v.

 MIAMI GARDENS SQUARE ONE, INC.,
 individually and d/b/a TOOTSIE’S
 CABARET MIAMI,

       Defendant.
 ________________________________/

                              ORDER TO FILE PROOF OF SERVICE

         THIS CAUSE is before the Court upon a sua sponte review of the record. Federal Rule of

 Civil Procedure 4(m) requires service of the summons and complaint to be perfected upon

 defendants within 90 days after the filing of the complaint. 1 Plaintiff filed this action on September

 12, 2023, see ECF No. [1], generating a December 11, 2023, service deadline. A summons has

 been issued as to Defendant, see ECF No. [3], but service has not been perfected. Accordingly, it

 is ORDERED AND ADJUDGED that, within seven (7) days of perfecting service upon

 Defendant, Plaintiff shall file proof of such service with the Court. Failure to effectuate service of

 a summons and the complaint on Defendant by the stated deadline will result in dismissal without

 prejudice and without further notice.




 1
  The 90-day timeframe does not apply to service of process upon parties in a foreign country. See Fed. R.
 Civ. P. 4(m) (“This subdivision (m) does not apply to service in a foreign country under Rule 4(f), 4(h)(2),
 or 4(j)(1), or to service of a notice under Rule 71.1(d)(3)(A).”).
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        DONE AND ORDERED in Chambers at Miami, Florida, on October 16, 2023.




                                                 _________________________________
                                                 BETH BLOOM
                                                 UNITED STATES DISTRICT JUDGE

 Copies to:

 Counsel of Record




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